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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 ILKB, LLC,                                            Case No.: 1:20-cv-04900-WFK-LB

 Plaintiff,                                            DECLARATION OF DANIEL
                                                       CASTELLINI IN SUPPORT OF
         vs.                                           COUNTER-DEFENDANTS’ MOTION
                                                       TO DISMISS
 MATTHEW WHITWORTH and TRAINING
 PASSION, LLC,

 Defendants.

 And

 MATTHEW WHITWORTH and TRAINING
 PASSION, LLC,


 Defendant/Counter-Plaintiff,

         vs.

 ILKB, LLC, MICHAEL PARRELLA, and ILKB
 TOO, LLC,

 Counter-defendants/Additional Defendants.



         I, Daniel Castellini, declare the following is true and correct to the best of my knowledge:

         1.     I am over the age of 18 and competent to give testimony in this matter.

         2.     I am one of the managers of ILKB LLC (“ILKB”). Currently, I hold the position of

 CEO.

         3.     I make this declaration based on my personal knowledge of the operation of ILKB,

 and my review of the records associated with this business, I have sufficient personal knowledge

 to provide the sworn testimony provided below.




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        4.      Neither I nor COO Shaun York have own an ownership/membership interest in the

 ILKB company.

        5.      ILKB remains owned, in the entirety, by Michael Parrella.

        6.      Mr. York and I have run ILKB since June of 2020.

        7.      ILKB remains the franchisor, holds the assets of the franchise, is responsible for

 the liabilities of the franchise, continues to operate, and is the only entity that could sue or could

 be sued for conduct related to ILKB’s operation.

        8.      No assets have transferred from ILKB.

        9.      Currently, ILKB Too is not operating the ilovekickboxing.com business.

        I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct and based upon my personal knowledge.



         06/07/2021
 Date: _________________                                       _____________________________

                                                               Daniel Castellini




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